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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

-------------------------------- x
LAGUERRE LENSENDRO,              :
                                 :
          Plaintiff,             :
v.                               :
                                         Civil No. 3:24-cv-1888 (AWT)
                                 :
EXPERIAN,                        :
                                 :
          Defendant.             :
                                 :
                                 :
-------------------------------- x


            RULING GRANTING MOTION FOR LEAVE TO PROCEED
               IN FORMA PAUPERIS AND DISMISSING CASE

     Pro se plaintiff Laguerre Lensendro (“Lensendro”) alleges

that defendant Experian willfully violated the Fair Credit

Reporting Act (the “FCRA”), codified as amended at 15 U.S.C. §

1681 et seq., by furnishing his consumer report on multiple

occasions without a permissible purpose. The plaintiff has also

filed an amended motion to proceed in forma pauperis pursuant to

28 U.S.C. § 1915.

     For the reasons stated below, the court is granting the

amended motion to proceed in forma pauperis and dismissing the

complaint pursuant to 28 U.S.C. § 1915(e)(2).

I.   MOTION TO PROCEED IN FORMA PAUPERIS

     Section 1915 of Title 28 of the United States Code

provides, in pertinent part:

     [A]ny court of the United States may authorize the


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    commencement, prosecution or defense of any suit, action or
    proceeding, civil or criminal, or appeal therein, without
    prepayment of fees or security therefor, by a person who
    submits an affidavit that includes a statement of all
    assets such [person] possesses [and] that the person is
    unable to pay such fees or give security therefor.

28 U.S.C. § 1915(a)(1). The court determines whether an

applicant is indigent by reviewing the applicant’s assets and

expenses as stated on a declaration submitted with the motion to

proceed in forma pauperis. Here, the plaintiff has demonstrated

to the court an inability to pay for the commencement of this

action. Accordingly, the court is granting the plaintiff’s

amended Motion to Proceed in Forma Pauperis (ECF No. 15) and

denying as moot the plaintiff’s prior motion to proceed in forma

pauperis (ECF No. 2).

    The same statute that authorizes the court to grant in

forma pauperis status to an indigent plaintiff also provides

that the court “shall dismiss the case at any time if [it]

determines that . . . the action . . . (i) is frivolous or

malicious; (ii) fails to state a claim on which relief may be

granted; or (iii) seeks monetary relief against a defendant who

is immune from such relief.” 28 U.S.C. § 1915(e)(2)(B).

    Therefore, the court must review the complaint in this case

to determine whether this action is frivolous or malicious,

fails to state a claim on which relief may be granted, or seeks

monetary relief against a defendant who is immune from such




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relief.

II.   FACTUAL ALLEGATIONS IN THE COMPLAINT

      The court must accept as true the factual allegations in

the complaint for purposes of testing its sufficiency. See

Monsky v. Moraghan, 127 F.3d 243, 244 (2d Cir. 1997). It

contains the following allegations.

      The complaint alleges that the plaintiff is “a ‘consumer’”

and that “Experian is a nationwide consumer reporting agency”

under the terms of the FCRA. Compl. (ECF No. 1) ¶¶ 6, 7. The

complaint alleges that Experian “furnished [the plaintiff’s]

report on at least 299 separate occasions without a permissible

purpose, in violation of 15 U.S.C. § 1681b.” Id. ¶ 2. The

complaint alleges that Experian’s “repeated actions were willful

in violation of the FCRA.” Id. ¶ 10. Attached to the complaint

as Exhibit A is what appears to be a portion of a report

detailing instances where the defendant furnished the

plaintiff’s credit report in response to an inquiry. See ECF

pages 3-12. For each inquiry, the report identifies the entity

that sought the plaintiff’s report, the date or dates on which

the entity made an inquiry regarding the plaintiff’s report, its

mailing address, and its telephone number, if available. See id.

For certain inquiries, the report appears to identify a matter

to which the inquiry is related. See ECF page 3 (“BK OF AMER”,

“Inquired on 4/29/2024”, “Auto loan.”; “EMS/AMERISA VE MORTGAGE


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C”, “Inquired on 11/14/2022”, “Mortgage.”). Most of the

inquiries are characterized as “Soft Inquiries”, and the report

explains what that term means. Id.

    The plaintiff “seeks statutory damages of $1,000 per

violation under 15 U.S.C. § 1681n for willful noncompliance,

totaling $299,000.” Compl. ¶ 3.

III. LEGAL STANDARD

    In determining whether an action “fails to state a claim on

which relief may be granted” under 28 U.S.C. §

1915(e)(2)(B)(ii), courts use the standard established for

Federal Rule of Civil Procedure 12(b)(6). See, e.g., Sykes v.

Bank of Am., 723 F.3d 399, 401, 403 (2d Cir. 2013) (using the

Rule 12(b)(6) standard to review a sua sponte dismissal for

failure to state a claim under 28 U.S.C. § 1915(e)(2)(B)).

“Although courts must read pro se complaints with ‘special

solicitude’ and interpret them to raise the ‘strongest arguments

that they suggest,’” pro se litigants must nonetheless “plead

‘enough facts to state a claim to relief that is plausible on

its face.’” Anthony v. Med. Staff at Inst., 409 F. Supp. 3d 102,

104 (E.D.N.Y. 2016) (quoting Triestman v. Federal Bureau of

Prisons, 470 F.3d 471, 474-76 (2d Cir. 2006); Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial

plausibility when the [claimant] pleads factual content that

allows the court to draw the reasonable inference that the


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defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). But a complaint will be

dismissed when “the allegations in [the] complaint, however

true, could not raise a claim of entitlement to relief.’”

Twombly, 550 U.S. at 558. In determining whether a complaint

should be dismissed for failure to state a claim, “a court may

consider ‘documents attached to the complaint as an exhibit or

incorporated in it by reference, . . . matters of which judicial

notice may be taken, or . . . documents either in plaintiffs’

possession or of which plaintiffs had knowledge and relied on in

bringing suit.’” Chambers v. Time Warner, Inc., 282 F.3d 147,

153 (2d Cir. 2002) (citation omitted).

     In determining whether a claim “is frivolous” under 28

U.S.C. § 1915(e)(2)(B)(i), courts consider whether the claim

“lacks an arguable basis either in law or in fact.” Neitzke v.

Williams, 490 U.S. 319, 325 (1989). The “function” of this

provision, which is separate and distinct from that of 28 U.S.C.

§ 1915(e)(2)(B)(ii), is to “accord[] judges not only the

authority to dismiss a claim based on an indisputably meritless

legal theory, but also the unusual power to pierce the veil of

the complaint’s factual allegations and dismiss those claims

whose factual contentions are clearly baseless.” Id. at 327.

“Holding a pro se plaintiff to less stringent standards than a

plaintiff represented by counsel, and considering all of the


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allegations as truthful, the complaint must be frivolous on its

face or wholly insubstantial to warrant sua sponte dismissal.”

Moorish Sci. Temple of Am., Inc. v. Smith, 693 F.2d 987, 989–90

(2d Cir. 1982) (citations and italics omitted).

  IV.   MERITS OF THE COMPLAINT

    The plaintiff claims that the defendant “furnished his

report on at least 299 separate occasions without a permissible

purpose, in violation of 15 U.S.C. § 1681b.” Compl. ¶ 2.

    Section 1681b(a) of Title 15 of the United States Code

provides, in pertinent part:

         Subject to subsection (c), any consumer reporting
    agency may furnish a consumer report under the following
    circumstances and no other:

    (1)   In response to the order of a court . . . [or] a
          subpoena issued in connection with proceedings before
          a Federal grand jury . . . .

    (2)   In accordance with the written instructions of the
          consumer to whom it relates.

    (3)   To a person which it has reason to believe—

          (A)   intends to use the information in connection with
                a credit transaction involving the consumer on
                whom the information is to be furnished and
                involving the extension of credit to, or review or
                collection of an account of, the consumer; or

          (B)   intends to use the information for employment
                purposes; or

          (C)   intends to use the information in connection with
                the underwriting of insurance involving the
                consumer; or

          (D)   intends to use the information in connection with


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                a determination of the consumer's eligibility for
                a license or other benefit granted by a
                governmental instrumentality required by law to
                consider an applicant's financial responsibility
                or status; or

          (E)   intends to use the information, as a potential
                investor or servicer, or current insurer, in
                connection with a valuation of, or an assessment
                of the credit or prepayment risks associated with,
                an existing credit obligation; or

          (F)   otherwise has a legitimate business need for the
                information—

                (i)     in connection with a business transaction
                        that is initiated by the consumer; or
                (ii)    to review an account to determine whether
                        the consumer continues to meet the terms of
                        the account.

          (G)   executive departments and agencies in connection
                with the issuance of government-sponsored
                individually-billed travel charge cards. . . .

    (4)   In response to a request by the head of a State or
          local child support enforcement agency . . . .

    (5)   To an agency administering a State plan under section
          654 of Title 42 for use to set an initial or modified
          child support award. . . .

    (6)   To the Federal Deposit Insurance Corporation or the
          National Credit Union Administration as part of its
          preparation for its appointment or as part of its
          exercise of powers . . . .

15 U.S.C. § 1681b(a).

    Section 1681b(c) provides that a “consumer reporting agency

may furnish a consumer report relating to any consumer pursuant

to subparagraph (A) or (C) of subsection (a)(3) in connection

with any credit or insurance transaction that is not initiated



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by the consumer” only under certain circumstances. 15 U.S.C. §

1681b(c).

    The plaintiff does not provide any factual background with

respect to any of the 299 occasions on which the defendant

furnished his credit report. Thus there is no basis for the

court to conclude or reasonably infer that the defendant

furnished the plaintiff’s credit report under impermissible

circumstances. For instance, the plaintiff does not allege that

Experian furnished his report on any particular occasion for a

particular purpose that is not covered by 15 U.S.C. § 1681b(a).

No such information can be determined by looking at Exhibit A.

    The complaint thus fails to “provide the ‘grounds’ of [the

plaintiff’s] ‘entitle[ment] to relief’”. Twombly, 550 U.S. at

555. Rather, it simply provides “labels and conclusions.” Id.

This is not sufficient to state a claim under the FCRA. See,

e.g., Taylor v. Experian Info. Sols., Inc., No. 5:24-CV-188

(DNH/MJK), 2024 WL 618741, at *4 (N.D.N.Y. Feb. 14, 2024),

report and recommendation adopted, No. 5:24-CV-188, 2024 WL

986483 (N.D.N.Y. Mar. 7, 2024)(dismissing claim under 15 U.S.C.

§ 1681b because the “plaintiff [did] not plausibly allege [in a

nonconclusory manner] that a third party sought or used the

information for an impermissible purpose . . . .”); Ahmad v.

Experian Info. Sols., Inc., No. 23-CV-2222 (LJL), 2023 WL

8650192, at *7 (S.D.N.Y. Dec. 14, 2023) (dismissing claim under


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15 U.S.C. § 1681b where the “Plaintiff has not alleged the

disclosure of his consumer report beyond those purposes

permitted by law.”); Viverette v. Experian, No. 21-CV-6989

(LTS), 2022 WL 357274, at *1, 3 (S.D.N.Y. Feb. 7,

2022)(dismissing complaint where plaintiff alleged that she “was

violated by Experian under . . . 15 [U.S.C. §] 1681b(a)(2)”,

without further elaboration); Selvam v. Experian Info. Sols.,

Inc., No. 13-CV-6078 (DLI) (JO), 2015 WL 1034891, at *3

(E.D.N.Y. Mar. 10, 2015) (dismissing claim under 15 U.S.C. §

1681b where the “Plaintiff alleges only that [the defendant]

‘did not have a reasonable purpose to receive it.’ Such

conclusory language, that only tracks the statute in a formulaic

manner, fails to state a claim upon which relief can be

granted.” (citation omitted)). Compare Perl v. Am. Express, No.

12-CV-4380 (ER), 2012 WL 2711270, at *2 (S.D.N.Y. July 9, 2012)

(“Mr. Perl adequately alleges that his report was obtained for

an impermissible purpose by alleging that he ‘never had any

business dealings or any accounts with, made application for

credit from, made application for employment with, applied for

insurance from, or received a bona fide offer of credit from,’

Defendants.”).

    Consequently, the complaint fails to state a claim on which

relief may be granted and must be dismissed.




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V.    CONCLUSION

      For the reasons set forth above, the plaintiff’s amended

Motion for Leave to Proceed in Forma Pauperis (ECF No. 15) is

hereby GRANTED, and the Complaint (ECF No. 1) is hereby

DISMISSED pursuant to 28 U.S.C. § 1915(e)(2), with leave to

amend.

      Any amended complaint must be filed within 30 days of the

date of this order. In any amended complaint, the plaintiff

shall remedy the deficiencies in the original complaint and

include factual allegations that establish each element of the

cause of action he asserts.

      It is so ordered.

      Dated this 26th of June 2025, at Hartford, Connecticut.



                                                  /s/ AWT
                                              Alvin W. Thompson
                                       United States District Judge




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